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 7                             UNITED STATES DISTRICT COURT
 8                                      DISTRICT OF NEVADA
 9

10   UNITED STATES OF AMERICA,

11            Plaintiff,                                 Case No. 2:13-CR-00439-KJD-VCF

12   v.                                                  ORDER

13   ANTHONY BRANDEL,

14            Defendant.

15

16            Presently before the Court is Defendant Anthony Brandel’s Emergency Motion for

17   Compassionate Release (#200) and Motion for Reconsideration of Detention Order (#206). The

18   Government filed a response in opposition (#209). The Court will consider both motions because

19   the standard and the risk is the same for granting either motion.

20            18 U.S.C. § 3143(a) provides that a judicial officer “shall order” that a person who has been

21   found guilty of an offense and is awaiting imposition of sentence be detained, unless the judicial

22   officer finds by “clear and convincing evidence” that the person is not likely to flee or pose a danger

23   to the safety of the community. The burden of establishing that Defendant will not flee or pose a

24   danger to the safety of the community is on Defendant. See Federal Rule of Criminal Procedure

25   46(c).

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 1          Here, Defendant seeks release, first to attend his mother’s funeral in Michigan on Saturday,

 2   December 12, 2015. Further, Defendant seeks to be released pending his sentencing asserting that he

 3   is neither a flight risk nor a danger to the community. Defendant argues that he has been completely

 4   compliant with the requirements of Pre-trial Services pending his trial. Further, he argues that he has

 5   ties to the community. Finally, he asserts that electronic monitoring should be enough to secure his

 6   compliance with any terms or release.

 7          However, while the Court is sympathetic to the loss of a loved one, Defendant has failed to

 8   meet his burden by clear and convincing evidence. First, Defendant has raised no new evidence that

 9   was not available when the Court ordered him detained on Monday, December 7, 2015. Defendant

10   has not met his burden in seeking reconsideration. In fact, Mrs. Cecil passed away on Sunday,

11   December 6, 2015, but Defendant failed to raise this non-determinative fact until late on Wednesday,

12   December 9, 2015.

13          Second, his ties to the community are not strong. He rents a residence that he shares with a

14   girlfriend and his adult son. He transferred significant amounts of money to foreign jurisdictions.

15   Details of what happened to much of that money after the transfer are unavailable due to the data

16   privacy laws of those jurisdictions. Finally, he is facing a significant amount of time for the crime of

17   which he was convicted. Though Defendant has suggested that electronic monitoring would ensure

18   his future appearance, electronic monitoring is not a foolproof solution in the face of someone with

19   the incentive and means to gamble with the potential rewards of flight. Electronic monitoring does

20   not prevent flight. It only notifies the appropriate authority in the event of Defendant’s failure to

21   comply with travel restrictions. Therefore, the Court denies his motions for release pending

22   sentencing.

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 1         Accordingly, IT IS HEREBY ORDERED that Defendant Anthony Brandel’s Emergency

 2   Motion for Compassionate Release (#200) is DENIED;

 3         IT IS FURTHER ORDERED that Defendant’s Motion for Reconsideration of Detention

 4   Order (#206) is DENIED.

 5         DATED this 10th day of December 2015.

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                                             Kent J. Dawson
 9                                           United States District Judge

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